Case 2:04-cr-20148-BBD Document 145 Filed 05/02/05 Page 1 of 3 Page|D 197

 

PROB. lZRtv. 3188)
UNITED sTATEs DISTRICT CoURT t-'n.so ;w» % D {~
for 05 i"i/il' "2 Ai'i 9: 32
wEsTERN DISTRICT oF TENNESSEE mean :~:», or memo
§1-’:`* ss psr cr
U.s.A. vs. reader BAHHUR pocket No. 2=04CR2014§YW§"S

 

Petition on Probation and Supervised Release

COMES NOW Da_ryl K. Butler PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude ofNader Bahhur who Was placed on supervision by the Honorable Bernice
B. Donald, Sitting in the Court at Me@his, TN on the 2nd day of August. 2004. who fixed the period of supervision
at three 13 1 years*, and imposed the general terms and conditions theretofore adopted by the Court and also imposed
Special Conditions and terms as follows:

(1) The defendant shall participate in the Home Detention program for a period of six (6) months.
(Completed)

(2) The defendant shall pay restitution in the amount of $137,550.00 (Balance: $136,319.24)
(3) The defendant shall pay a fine in the amount of $1,500.00. (Balance: $1,500.00)
* Term of Supervision began on Angust 2, 2004
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS F()LLOWS:

After a review of Nader Bahhur’s monthly income and necessary living expenses, and his agreement to increase his
payments, it appears that monthly restitution payments in the amount of Five Hundred Eighty One Dollars and
40/100 ($581.40), is an appropriate payment plan.

PRAYING THAT THE COURT WILL ORDER that Nader Bahhur’s conditions of Supervised Release be
modified to state, “The defendant shall pay restitution at the rate of $58 1 .40 per month until such time as the Court
may alter that payment schedule in the interest of justice. The U. S. Probation OHice and U.S. Attorney’s Oiiice shall
monitor the payment of restitution and report any material change in the defendant’s ability to pay”.

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of Daryl%. Butler
ma United States Probation OiHcer

     

Place Memr)his. Tennessee

 

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Date April 21, 2005
Th|s document entered on the docket she

with Rule 55 and/cr 32(b) FRCrP on

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 145 in
case 2:04-CR-20148 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

l\/lemphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. l\/lain Ave.

Ste. 1540

l\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Lee Wilson

WILSON & WRIGHT
50 N. Front St.

Ste. 640

l\/lemphis7 TN 38103

Frederick Robbins

ROBBINS TUNKEY ROSS AMSEL RABEN WAKMAN & EIGLARSH

LaWyers Plaza, 4th Floor
2250 SouthWest 3rd Ave.
1\/liami7 FL 33129--209

Case 2:04-cr-20148-BBD Document 145 Filed 05/02/05 Page 3 of 3 Page|D 199

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

